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8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10   DEFAULT RECOVERY                    CASE NO.: 2:20-cv-01005-TJH-GJSx
11   ASSOCIATES, LLC, a Delaware
     Limited Liability Company,          ORDER ON JOINT STIPULATION TO
12
                                         DISMISS [JS-6]
13              Plaintiff,
14
          vs.
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16   SHOUTZ, INC., a Delaware
     Corporation; GAMERAIL
17   ENTERTAINMENT LLC, a Texas
18   Limited Liability Company;
     NATIONAL HOLDINGS, INC., a
19
     Missouri Corporation; ACRES
20   MEDICAL LLC, a Nevada Limited
21   Liability Company; JAMES G.
     MUELLER, an Individual; JOHN
22   MUELLER, an Individual; and DOES
23   1 through 10, inclusive,
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                Defendants.
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                                         ORDER
 Case 2:20-cv-01005-TJH-GJS Document 126 Filed 11/24/21 Page 2 of 2 Page ID #:1265




1         FOR GOOD CAUSE APPEARING, the following is hereby ORDERED:
2         A.    The complaint is dismissed with prejudice;
3         B.    This dismissal is subject to and predicated upon the settlement agreement
4               that gave rise to this dismissal;
5         C.    This Court will retain jurisdiction to enforce the settlement agreement that
6               precipitated this dismissal; and
7         D.    The parties will each bear their own costs and attorneys’ fees incurred in this
8               action.
9
10        SO ORDERED.
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12   Dated: November 24, 2021
                                               Honorable Terry J. Hatter, Jr.
13                                         UNITED STATES DISTRICT JUDGE
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                                             ORDER
